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               Exhibit 13
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Table: DECENNIALPL2020.P2



                  HISPANIC OR LATINO, AND NOT HISPANIC OR LATINO BY RACE

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     P2
SURVEY/PROGRAM:               Decennial Census
VINTAGE:                      2020
DATASET:                      DECENNIALPL2020
PRODUCT:                      DEC Redistricting Data (PL 94‐171)
UNIVERSE:                     Total population
FTP URL:                      https://www2.census.gov/programs‐surveys/decennial/2020/data/

API URL:                      https://api.census.gov/data/2020/dec/pl

USER SELECTIONS
TABLES                        P2
GEOS                          Travis County, Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=p2&g=050XX00US48453&tid=DECENNIALPL2020.P2




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Table: DECENNIALPL2020.P2


TABLE NOTES                   Note: For information on data collection, confidentiality protection, nonsampling error, and definitions, see 2020 Census
                              Redistricting Data (Public Law 94‐171) Summary File Technical Documentation.

                              For information on the statistical methods used to protect confidentiality in these tables, see Disclosure Avoidance and the
                              2020 Census.
                              Source: U.S. Census Bureau, 2020 Census Redistricting Data (Public Law 94‐171)


COLUMN NOTES                  None




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Table: DECENNIALPL2020.P2


  Label                               Travis County, Texas
Total:                              1,290,188
 Hispanic or Latino                 421,110
 Not Hispanic or Latino:            869,078
   Population of one race:          818,803
     White alone                    612,824

     Black or African American alone 96,270
     American Indian and Alaska
     Native alone                    2,762
     Asian alone                     99,660
     Native Hawaiian and Other
     Pacific Islander alone          774
     Some Other Race alone           6,513

   Population of two or more races: 50,275
    Population of two races:        47,469
      White; Black or African
      American                      8,652
      White; American Indian and
      Alaska Native                 10,748
      White; Asian                  15,109
      White; Native Hawaiian and
      Other Pacific Islander        668
      White; Some Other Race        8,977
      Black or African American;
      American Indian and Alaska
      Native                        756
      Black or African American;
      Asian                         852
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander              77


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Table: DECENNIALPL2020.P2


  Label                                  Travis County, Texas
      Black or African American;
      Some Other Race                741
      American Indian and Alaska
      Native; Asian                  114
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         3
      American Indian and Alaska
      Native; Some Other Race        47
      Asian; Native Hawaiian and
      Other Pacific Islander         462
      Asian; Some Other Race         250
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           13
     Population of three races:      2,546
      White; Black or African
      American; American Indian
      and Alaska Native              876
      White; Black or African
      American; Asian                391
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander     28
      White; Black or African
      American; Some Other Race      210
      White; American Indian and
      Alaska Native; Asian           343
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       17


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Table: DECENNIALPL2020.P2


  Label                                  Travis County, Texas
      White; American Indian and
      Alaska Native; Some Other
      Race                           79
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander                       408
      White; Asian; Some Other
      Race                           85
      White; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     3
      Black or African American;
      American Indian and Alaska
      Native; Asian                  52
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         0
      Black or African American;
      American Indian and Alaska
      Native; Some Other Race        19
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander         23
      Black or African American;
      Asian; Some Other Race         12
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           0




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  Label                                  Travis County, Texas
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                       0
      American Indian and Alaska
      Native; Asian; Some Other
      Race                           0
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
     Population of four races:       224
      White; Black or African
      American; American Indian
      and Alaska Native; Asian       96
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       5
      White; Black or African
      American; American Indian
      and Alaska Native; Some
      Other Race                     54
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander                       2




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Table: DECENNIALPL2020.P2


  Label                              Travis County, Texas
      White; Black or African
      American; Asian; Some Other
      Race                         24
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander;
      Some Other Race              4
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     29
      White; American Indian and
      Alaska Native; Asian; Some
      Other Race                   0
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    0
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    8
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     0
      Black or African American;
      American Indian and Alaska
      Native; Asian; Some Other
      Race                         0




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Table: DECENNIALPL2020.P2


  Label                                  Travis County, Texas
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     2
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of five races:       27
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander               21
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Some Other Race                6
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0


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Table: DECENNIALPL2020.P2


  Label                                  Travis County, Texas
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of six races:        9
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           9




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